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                 Exhibit 16
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                          IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLORADO


   DANIEL ROBERT, SSGT, U.S. Army, and
   HOLLIE MULVIHILL, SSGT, USMC,

                                 Plaintiffs,

          v.

   LLOYD AUSTIN, in his official capacity as                   Case No. 1:21-cv-02228-RM
   Secretary of Defense, U.S. Department of Defense,
   XAVIER BACERRA, in his official capacity as
   Secretary of the U.S. Department of Health and
   Human Services, and JANET WOODCOCK, in her
   official capacity as Acting Commissioner of the U.S.
   Food & Drug Administration,

                                 Defendants.



                        DECLARATION OF CHRISTOPHER P. TILQUE

   I, Christopher P. Tilque, hereby state and declare as follows:

          1.

   as the Officer-in-

                                                                                                my

   official capacity, based upon my personal knowledge and upon information that has been

   provided to me in the course of my official duties.

          2.      I have been assigned to my current position since May 2020. Prior to my current

   assignment, I served as the Future Operations Officer for Marine Air Control Group 18 in

   Okinawa, Japan and then as a Student at Expeditionary Warfare School. As part of my current

   duties, I am responsible for the administration and oversight of the Air Traffic Control Facility at

   MCAS New River, which coordinates and directs activities related to airspace management and

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   the control of aircraft and vehicles within MCAS New River airspace. The primary function of

   ATC is to ensure the proper operation of aircraft and safety of aviators, aircrew, and persons by

   monitoring the location, speed, and course of aircraft in MCAS New River airspace, providing

   aviators information, instructions, or guidance as necessary, while in flight and during takeoff

   and landing. My duties include staffing and operation of control towers and associated radar

   control positions, maintenance for such systems, as well as the supervision of approximately 72

   ATC and Air Traffic Control Maintenance (ATCM) Marines, and 15 Department of the Navy

   civilian employees who operate or maintain the systems in various capacities.

          3.      On August 26, 2021, I received notification that Staff Sergeant (SSgt) Hollie

   Mulvihill was a plaintiff in a pending lawsuit. SSgt Mulvihill had previously informed me that

   she was to be involved in a lawsuit related to the Department               COVID-19 vaccine

   requirement. Since June 2020, Staff Sergeant (SSgt) Mulvihill has been assigned to the ATC

   facility and serves as an Air Traffic Controller. Her administrative duties include serving as the

   assistant crew chief, supervising, mentoring, and ensuring the well-being of Marines on Crew B.

   Her operational duties include operating and instructing on all qualified ATC positions, which

   currently include: Tower Flight Data, Radar Flight Data and Radar Final Control and instructing

   Marines on Radar Final Control.

          4.      Marines assigned to the Air Traffic Control Facility, such as SSgt Mulvihill,

   operate in confined spaces in close proximity to other Marines. Control positions within the

   tower or radar facilities are generally not more than two-to-three feet apart, and Marines under

   instruction are obliged to work shoulder-to-shoulder with their instructor. In response to the

   COVID-19 pandemic, persons entering facilities located on the installation are required to wear

   masks when indoors except in limited circumstances, per DoD and Service policy. Marine Corps



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   Installation-East policy requires all Marines wear a mask while indoors, unless they are alone in

   a single-occupancy office, or in an office where six-foot social distancing is maintained. See

   Attachment A, MCI-EAST Commanding G                                    -21 (Aug. 4, 2021).

          5.

   in the event the Marine develops symptoms of COVID-19, or is identified as a close contact of

   an individual who has tested positive for COVID-19. See Attachment B, II MEF COVID-19

   Close Contact & Testing Decision Matrix. In the event an unvaccinated Marine is identified as

   being in close contact with a COVID-positive individual, they are required to test for COVID-19

   and quarantine (generally known as being placed in restriction of movement, or               for 14

   days, whether the test is negative or positive. Marines who are fully vaccinated, without

   symptoms, and who receive a negative COVID test are not required to quarantine. Persons in a

   quarantine or ROM status are required to remain at home except under limited circumstances.

          6.      Potential exposure to COVID-19 can have a significant impact on the operations

   of the Air Traffic Control Facility. The ATC is the key unit that enables all 14 squadrons

   assigned to MCAS New River to train and execute their respective missions. Any degradation of



   capacity and military readiness. Specifically, the removal of small numbers of individuals due to

   the contraction of COVID-19 or quarantine (ROM) necessitates temporary reassignment of

   personnel and the radar and tower chief to cover operational duties. In the event of a personnel

   shortfall or the lack of personnel with required qualifications, it could become necessary to

   consolidate personnel to one ten-hour shift and curtail airfield hours. This would directly impact

   14 resident squadrons, including two training squadrons, comprised of approximately 240




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   Deferral Status Reporting (Sep. 21, 2021).1 It is expected that her temporary exemption will be

   renewed for the duration of                       . SSgt Mulvihill is not required to get vaccinated and

   will not be subject to any adverse administrative or disciplinary action for not getting vaccinated

   while she has a temporary medical exemption. Once her temporary exemption expires, SSgt

   Mulvihill will be ordered to receive the vaccine as required by MARADMIN 462/21, unless she

   obtains a permanent exemption.

           10.      SSgt Mulvihill has not been subject to any form of adverse employment action,

   discipline, or disparate treatment, nor any form of maltreatment or ostracism, as a result of either

   of her requests for a vaccination exemption, her temporary medical exemption, or as a result of

   this lawsuit.

           11.      Several months ago, prior to SSgt Mulvihill receiving a temporary medical

   exemption, she asked me about potential punishments associated with refusing the vaccine. In

   response to her inquiry regarding potential disciplinary action, I referred SSgt Mulvihill to the

   MARADMIN, which withholds authority to issue adverse administrative counseling to the

   special court-martial convening authority, Lieutenant Colonel Friedrick, Commanding Officer,

   Headquarters & Headquarters Squadron. Initial disposition authority for disciplinary cases

   involving vaccine refusals is withheld to the general court-martial convening authority, Brigadier

   General Andrew Niebel, Commanding General, Marine Corps Installations East. I referred her to

   the legal services office in the event she had further questions, as I do not have the authority to

   issue adverse administrative counseling or adjudicate potential disciplinary action under the

   MARADMIN or per my billet. Furthermore, adverse administrative counseling or potential



   1

   temporary deferrals, this designation remains in effect for only 30 days. After 30 days, the Service member must
   either receive the vaccine or update their deferral status.

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                                    DEPARTMENT OF THE NAVY
                                   BUREAU OF MEDICINE AND SURGERY
                                      7700 ARLINGTON BOULEVARD
                                        FALLS CHURCH VA 22042
                                                                        Canc: Sep 2022
                                                                        IN REPLY REFER TO

                                                                        BUMEDNOTE 6150
                                                                        BUMED-CIC
                                                                        21 Sep 2021

   BUMED NOTICE 6150

   From: Chief, Bureau of Medicine and Surgery

   Subj: GUIDANCE FOR CORONAVIRUS DISEASE 2019 VACCINATION DEFERRAL
         STATUS REPORTING

   Ref:   (a)   BUMEDINST 6230.15B
          (b)   SecDef Memo of 24 Aug 21
          (c)   DoD Instruction 6205.02 of 23 July 2019
          (d)   CNO WASHINGTON DC 311913Z Aug 21 (NAVADMIN 190/21)
          (e)   CMC WASHINGTON DC 011400Z Sep 21 (MARADMIN 462/21)
          (f)   BUPERSINST 1730.11A
          (g)   MCO 1730.9 of 12 July 2021
          (h)   NAVPERS 15560D
          (i)   BUMEDNOTE 6300 of 3 Sep 2021 (Canc: Sep 2022)

   1. Purpose. Reference (a) establishes the tracking of readiness for naval forces in the Medical
   Readiness Reporting System (MRRS). This notice establishes the interim process for healthcare
   providers to document approved Coronavirus Disease 2019 (COVID-19) vaccine exemptions per
   reference (a).

   2. Scope and Applicability. This notice applies to all Navy Medicine healthcare providers
   delivering care to Sailors and Marines.

   3. Background. With the release of reference (b) mandating COVID-19 vaccination of Service
   members, mandatory vaccination will be implemented consistent with reference (c). Deferrals
   documented as “Medical Decline” or “Medically Contraindicated” will no longer be valid
   options for COVID-19 vaccine exemptions. Paragraphs 4 and 5 of this notice provides clarifying
   guidance for documenting deferrals in MRRS specific to COVID-19 vaccination. Due to the
   impact of Hurricane Ida, MRRS is unable to fully accommodate tracking of deferral statuses for
   the COVID-19 vaccine. In the interim, the process listed in subparagraphs 4a through 4c will be
   used to document COVID-19 vaccine deferral status.

   4. COVID-19 Vaccination Administering Requirements and Reporting:

       a. Per reference (b), COVID-19 vaccination is mandatory for all Department of Defense
   Service members who are not medically or administratively exempt. Service members who are
   not medically or administratively exempt must be fully vaccinated against COVID-19.

      b. Navy and Marine Corps Service members’ vaccination administration compliance will be
   monitored via MRRS. Designated command personnel will access MRRS to track personnel to
   ensure compliance.
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      c. Per references (d) and (e), COVID-19 vaccinations will continue to be documented in an
   approved electronic health record (EHR) to the maximum extent practicable. When an approved
   EHR is not available, COVID-19 vaccinations will be entered in MRRS.

   5. COVID-19 Vaccination Exemptions and Reporting

       a. Per reference (a), there are two types of vaccination exemptions, medical and
   administrative. Administrative exemptions include religious accommodations. The process for
   obtaining exemptions for mandatory vaccinations is provided in reference (a), for medical and
   administrative exemptions and references (f) through (h), Military Personnel Manual, article
   1730-020, for religious accommodations. Specifically for the COVID-19 vaccination, in
   addition to the processes in reference (a), the authority to grant approval of a permanent medical
   exemption for Navy personnel is the first Navy Medical Department flag officer in the medical
   provider’s chain of command and will follow the process outlined in reference (i). For Marine
   Corps personnel, a permanent medical exemption must be approved per reference (e) and follow-
   on supplemental guidance. Navy Medical Departments may send questions regarding the
   permanent medical exemption process to usn.ncr.bumedfchva.mbx.bumed---2019-ncov-
   response-cell@mail.mil.

      b. Process for Reporting of Exemptions:

          (1) COVID-19 vaccine exemptions must be entered in MRRS via the “Multiple Medical
   Entry” or “Individual Immunization Entry” options.

          (2) The MRRS “Comprehensive Medical Entry” option must not be used at this time to
   enter COVID-19 vaccination exemptions until MRRS is properly configured with the exemption
   options listed in the “Comprehensive Medical Entry” option. All entries using the deferral codes
   “Medical Decline” or “Medically Contraindicated” have been removed from MRRS reporting,
   and will be automatically deleted daily if used.

           (3) Administrative exemptions for COVID-19 vaccine must be entered into MRRS.
   Additionally, administrative exemptions may also be documented within an approved EHR.
   Prior to documenting any administrative exemption in MRRS, proof of administrative
   exemption, where applicable, should be verified by the Service member’s command and
   documentation provided to the individual documenting in MRRS.

           (4) Medical exemption for COVID-19 vaccine should be entered in an approved EHR
   using the code “Medical Temporary” or “Medical Permanent.” If unable to document with the
   appropriate code within the EHR, medical exemptions should be documented in MRRS. It is the
   responsibility of the medical department representative to ensure both the EHR and MRRS (both
   are required) reflect the appropriate medical exemption.

          (5) The categories for COVID-19 exemptions are:


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       Deferral Code                          Definitions                            Duration

  Admin Deceased (AD)       Individual is deceased                             Indefinite
  Admin Emergency Leave     Individual is on emergency leave
  (AL)
  Admin Permanent Change    For individual already checked out of the
  of Station (AP)           command due to permanent change of station
                            and awaiting to be gained at their next
                            command. (Individuals should be vaccinated
                            prior to permanent change status whenever
                            possible)
  Admin Refusal (AR)        For individual without a medical
                            contraindication who refused the vaccine and
                            subjected to actions under the Uniformed Code
                            of Military Justice. (May be revoked at any
                            time.)
  Admin Separation (AS)     Individuals on terminal leave only.
                                                                               These designations
  Admin Temporary (AT)      For individual that is operationally unavailable   will be in effect for
                            for vaccination. For example, deployed to a        only 30 days. After
                            location or region where the mandatory             30 days, the Service
                            vaccine is unavailable.                            member will need to
  Religious Accommodation    RA is a subcategory of AF but for COVID-19        either receive the
  Requested (RA)             vaccinations, RA will be used separately to       vaccine or update
                             identify individuals awaiting determination of    their deferral status.
                             a religious accommodation exemption.
  Medical Temporary (MT)    1. Individuals undergoing workup for
                                Medical Contraindication to vaccination.
                            2. Confirmed COVID-19 cases awaiting
                                recovery.
                            3. Pregnancy or other temporary medical
                                contraindication as determined by a medical
                                provider.
                            Note: Unless a Medical Evaluation Board is
                            specifically related to a vaccine
                            contraindication, MT must not be used for
                            individuals awaiting Medical Evaluation
                            Board, physical evaluation boards, or on
                            limited duty.
  Medical Permanent (MP)    Not an appropriate option to be entered at the     Indefinite
                            unit-level. Permanent medical exemptions
                            should be entered by the appropriate authority
                            after approval has been granted per references
                            (e) and (i).


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   6. Point of Contact. Questions may be e-mailed to the Bureau of Medicine and Surgery crisis
   action team at usn.ncr.bumedfchva.mbx.bumed---2019-ncov-response-cell@mail.mil.

   7. Records Management

       a. Records created as a result of this notice regardless of format or media, must be
   maintained and dispositioned per the records disposition schedules located on the Department of
   the Navy Directorate for Administration, Logistics, and Operations, Directives and Records
   Management Division portal page at https://portal.secnav.navy.mil/orgs/DUSNM/DONAA/
   DRM/Records-and-Information-Management/Approved%20Record%20Schedules/Forms/
   AllItems.aspx.

       b. For questions concerning the management of records related to this notice or the records
   disposition schedules, please contact the local records manager or the Department of the Navy
   Directorate for Administration, Logistics, and Operations, Directives and Records Management
   Division program office.

   8. Information Management Control. The reports required in paragraphs 4 and 5, of this
   instruction are exempt from reports control per SECNAV M-5214.1 of December 2005, part IV,
   paragraph 7j.




   Releasability and distribution:
   This notice is cleared for public release and is available electronically only via the Navy
   Medicine Web site at, https://www.med.navy.mil/Directives/




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